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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
               Plaintiff,             )       ORDER
                                      )
       vs.                            )
                                      )
Arthur Moses Feather,                 )       Case No. 1:20-cr-173
                                      )
               Defendant.             )

       The court convened a detention hearing for defendant on October 20, 2020. (Doc. No. 17).

Finding that the United States had met its evidentiary burdens and demonstrated that defendant

posed both a danger to the community and a risk of flight, the court ordered defendant detained.

(Doc. No. 16). In making its finding, the court took particular note of defendant’ pattern of

criminal conduct (which included instances of serious violence), noncompliance when

confronted with law enforcement, and a prior escape from Bismarck Transition Center. (Id.).

       On January 8, 2021, defendant filed a Motion to Reconsider Detention. (Doc No. 21). He

advises that he has recently been accepted into a treatment program at Growing Together, Inc., in

Minot, North Dakota. (Id.). He requests to be released so that he can travel to and participate in

this program. (Id.).

       On January 8, 2021, the United States filed a response to defendant’s motion. (Doc. No. 22).

It asserts there has been no material change in defendant’s circumstances to warrant his release.

(Id.). It also highlights, among other things, defendant’s extensive criminal history and history of

noncompliance with court orders. (Id.).

       The court agrees that there have been no material change in circumstances to warrant

reconsideration of its detention order. Defendant’s history includes crimes of violence. He also has

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a demonstrated inability to comply with court orders. As he has presented nothing new to ameliorate

the concerns previously expressed by the court regarding his danger to the community and his risk

of flight, his motion (Doc. No. 21) is DENIED.

       IT IS SO ORDERED.

       Dated this 11th day of January, 2021.

                                             /s/ Clare R. Hochhalter
                                             Clare R. Hochhalter, Magistrate Judge
                                             United States District Court




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